Case: 4:20-cv-00706-SNLJ Doc. #: 6-3 Filed: 06/05/20 Page: 1 of 3 PageID #: 103




       EXHIBIT B
                                                                                                   Case: 4:20-cv-00706-SNLJ Doc. #: 6-3 Filed: 06/05/20 Page: 2 of 3 PageID #: 104



   Benefits of a                                                                                                      sams’
                                                                                                                       plu
                                                                                                                          ™
                                                                                                                           s
                                                                                                                                                                                                                                                                                                          Member Benefits
   Sam’s Club Membership                                                                                            Plus                      Club
                                                                                                                                                            Terms and Conditions
   Cash Rewards*
                                                                                                                      ü
                                                                                                                                                            *    Cash Rewards are only available for Sam’s Club Plus® members. Sam’s Club Plus members earn $10 in Cash Rewards for every
                                                                                                                                                                 $500 in qualifying pre-tax purchases with a maximum reward of $500 per 12-month membership period. Cash Rewards are
   Get $10 for every $500 spent in-club and online, up to $500 annually (select exclusions apply). Use for                                                       awarded annually and loaded on to the membership card for use in-club, on SamsClub.com or redeemable for cash. A member
   purchases, membership fee or redeem for cash.                                                                                                                 can accumulate a Maximum Balance of $2,000 in earned Cash Rewards on a membership card, at which point accrual of Cash
                                                                                                                                                                 Rewards stops until the Maximum Balance is reduced. Cash Rewards are not earned for purchases made during the time of
   Free Shipping
                                                                                                                      ü
                                                                                                                                                                 Maximum Balance. Only the primary or complimentary cardholders on a membership account may access and redeem the Cash
                                                                                                                                                                 Rewards loaded on the membership account. Restrictions apply. Visit SamsClub.com/cashrewards for program details and terms
   On most items. No minimum purchase. Exclusions apply. See details at SamsClub.com/freeshipping.                                                               and conditions.
                                                                                                                                                            ** Hours may vary by club.

   Free Prescriptions for Sam’s Club Plus Members
                           †                          ®             ††                                                                                      †
                                                                                                                                                                 Specialty departments vary by club. Visit SamsClub.com/clublocator to find departments in a club near you.

   Eligible Plus Members get free select generics for Alzheimer’s disease, diabetes, mental health, prostate
   health and vitamin D deficiency, plus hundreds of prescriptions at $10 or less.
                                                                                                                      ü                                     ††
                                                                                                                                                                 Free prescriptions are available to Sam’s Club Plus members only and not to non-plus members. Offer is not transferable and
                                                                                                                                                                 available only at Sam’s Club Pharmacies, and is not available on SamsClub.com. Only the quantity, formulation and strength stated
                                                                                                                                                                 on the Extra Value Drug List (“EVDL”) itself will be offered for $0. Full list available at SamsClub.com/freerx. There will be a cost
                                                                                                                                                                 for quantities greater than the listed quantity. Prices listed in the EVDL do not apply to purchases submitted to any health benefit
                                                                                                                                                                 program, pharmacy benefit program, insurer or government health care program. Free medications are not available in the following
   Optical† Discount for Sam’s Club Plus Members
                                                                                                                      ü
                                                                                                                                                                 states: CA, GA, HI, MA, MD, ME, MN, OK, OR, PA, RI, SC, VT, WI and Puerto Rico. This offer may not be combined with other offers,
                                                                                                                                                                 discount care or discount arrangements, or promotions. Free prescriptions are not available when the listed prescriptions are
   Ask our Optical team about Plus member savings.                                                                                                               dispensed as part of a compound. Valid prescription required. Other restrictions may apply. Terms subject to change without notice.
                                                                                                                                                                 See your local Sam’s Club Pharmacy for details. Taxes or other fees may apply.
                                                                                                                                                            1
                                                                                                                                                                 All terms and conditions apply. Club Insider Savings and Instant Savings (collectively “Instant Savings”) are subject to availability
   Early Shopping Hours**
                                                                                                                      ü
                                                                                                                                                                 and valid dates. Select Instant Savings are available online. For Club Pickup orders not paid for online, any savings will be based on
                                                                                                                                                                 and limited to the Instant Savings offers available to the paying member on the date of in-club payment and order pickup. State and
   We’ll open the doors for Plus members at 7am Monday – Saturday.                                                                                               local laws may require sales tax to be charged on the pre-discounted price of an item with an Instant Savings offer. Prices shown
                                                                                                                                                                 are pre-tax amounts. No money shall be returned to the member if the price of the item falls below zero after applying the Instant

   Add-on Memberships
                                                                                                                                                                 Savings discount. To view your Instant Savings account, visit SamsClub.com/instantsavings or download the Sam’s Club app.
                                                                                                                                                                                                                                                                                                              sam
                                                                                                                      16                         8                                                                                                                                                            p l u s ’s
                                                                                                                                                                 Member must have a registered email on SamsClub.com in order to access the Instant Savings account page online. Visit
                                                                                                                                                                 SamsClub.com/instantsavings for program details and terms and conditions. Instant Savings may take up to 24 hours to load
   Add-on members receive all Club member benefits and are $40 annually for Club members.                                                                        to a membership account. Items and prices may vary in-club. Instant Savings offers shown are valid in U.S. clubs with a U.S.
                                                                                                                                                                 membership, excluding Puerto Rico.                                                                                                                  ™


   Instant Savings1                                                                                                                                              Subject to credit approval. Sam’s Club® Mastercard® cardholders are eligible to earn cash back rewards on purchases made with
                                                                                                                                                            2




   Get special savings automatically loaded on your membership card.                                                  ü                         ü                their Sam’s Club Mastercard account. Rewards apply to net card purchases (minus returns). Rewards percentages depend on the
                                                                                                                                                                 type of purchase made (5% for gas purchases at U.S. and Puerto Rico Sam’s Club and Walmart® fuel stations, and at gas stations
                                                                                                                                                                 located in the U.S. and Puerto Rico (but excluding purchases at fuel stations at wholesale clubs (other than Sam’s Club), certain
                                                                                                                                                                 supercenters, and supermarkets), for up to the first $6,000 in gas purchases each year and 1% thereafter; 3% for dining and travel
   Sam’s Club Mastercard         ®2                                                                                                                              purchases (excluding purchases at wholesale clubs other than Sam’s Club) and 1% for all other Eligible Purchases). Maximum


                                                                                                                      ü                         ü
                                                                                                                                                                 of $5,000 in Cash Back rewards can be earned in a calendar year. Cash back checks are issued each February for the Cash Back
                                                                                                                                                                 earned during the previous calendar year. Cash back rewards are forfeited if the Sam’s Club Mastercard account is not in good
   Earn 5% cash back on gas (on first $6,000 per year in purchases, then 1%), 3% on dining and travel, and 1% on                                                 standing, is more than two months delinquent on the minimum balance, if the Sam’s Club membership terminates or lapses, or if
   other purchases (where Mastercard is accepted).                                                                                                               the Cash Back earned in a calendar year is less than $5.00. Cash back checks will be made payable to Sam’s Club and may be
                                                                                                                                                                 cashed only at a Sam’s Club location. See the “How to Earn Cash Back with Your Sam’s Club® Mastercard®” Reward Program terms
   Club Pickup                                                                                                                                                   for details. The Sam’s Club Mastercard is issued by Synchrony Bank pursuant to a license by Mastercard International Incorporated.


                                                                                                                      ü                         ü
                                                                                                                                                                 Mastercard is a registered trademark of Mastercard International Incorporated.
   Save time and order in-club items online or via the Sam’s Club app. We’ll hand-select your fresh produce and                                             3
                                                                                                                                                                 In order for Sam’s Club to provide repair, tires must meet RMA (Rubber Manufacturers Association) guidelines for repair.
   get a text or email when your order is ready and pick in club.                                                                                           4
                                                                                                                                                                 Restrictions apply. Subject to availability and applicable state laws. 18 years and above. Screenings only available at clubs with
                                                                                                                                                                 a Pharmacy. Health screening tests may or may not alert you and your doctor to serious medical problems and are not intended

   Optical Discount for All Members
                                                                                                                                                                 to be substituted for a physician’s examinations. This service is currently not a covered benefit under Medicare or Medicaid when




                                                                                                                                                                                                                                                                                                           Get the most
            †

   Ask our Optical team about member Savings.                                                                         ü                         ü           5
                                                                                                                                                                 administered by a pharmacist. Patients covered by Medicare or Medicaid are encouraged to contact their primary physician for
                                                                                                                                                                 health screening services.
                                                                                                                                                                 Membership not required. Screening types and quantities may vary by state and club. Limited quantities available. Screenings only
                                                                                                                                                                 available in clubs with a Pharmacy.
                                                                                                                   1 primary + 1        1 primary + 1
   Number of Cards

                                                                                                                                                                                                                                                                                                            out of your
                                                                                                                   complimentary        complimentary
                                                                                                                   + up to 16 add-ons   + up to 8 add-ons




                                                                                                                                                                                                                                                                                                           membership
   Savings and more on the go.
   Download the Sam’s Club app for easy access to:
   •   Instant Savings
   •   Prescription refills
   •   Photo services
   •   And more!
   See details at SamsClub.com/mobile                                                                                                                                                                                                                                              87364C18P2
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A_68711.indd 1                                                                                                                                                                                                                                                                                                             2/13/18 8:54 AM
                                                      Case: 4:20-cv-00706-SNLJ Doc. #: 6-3 Filed: 06/05/20 Page: 3 of 3 PageID #: 105



                                                             Special services
                                                                                                                       Privileges and Conditions of Membership
                                                             for all members
   Save even more with                                                                                                 Satisfaction Guarantee Policy                                                                   Membership Cards and Fees

   a Sam’s Club Plus®                           Hearing Aid Center †
                                                                                                                       Sam’s Club aims for every member to be 100% satisfied with their membership and shopping
                                                                                                                       experience.
                                                                                                                                                                                                                       • Membership fee is for one, twelve (12) month period from the date of enrollment of the
                                                                                                                                                                                                                         primary cardholder.




   membership
                                                                                                                       • Membership: We will refund your current membership fee in full at any time if you are not     • A primary membership includes a card for you and a card for your spouse (or other
                                                Get free hearing tests and terrific prices on an amazing variety         satisfied.                                                                                      household member 18 or older).
                                                of hearing devices, swim plugs, custom earbud molds and more.          • Purchases: Subject to certain limitations, if the quality and performance of your purchases   • The complimentary card is for the primary cardholder’s spouse, domestic partner or
                                                                                                                         don’t meet your expectations, we will replace it or give you a refund.                          household member (living in the same household and 18 or older).

                                                Optical Center†                                                        • Please see the Satisfaction Guarantee Terms and Conditions for full program terms,
                                                                                                                         including all exclusions, requirements, and restrictions. Visit SamsClub.com for our full
                                                                                                                                                                                                                       • Membership cards require a card number and a photo to be valid. Membership cards
                                                                                                                                                                                                                         are non-transferable and are valid at all Sam’s Club locations worldwide. Membership
                                                                                                                         policy.                                                                                         may be terminated and card revoked at our discretion.
                                                Get terrific prices on eyewear, including designer frames and
                                                                                                                       • Receipt, proof of purchase, or printed order may be required for certain returns, refunds,    • Members are requested to show their cards when entering Sam’s Club and when
                                                contact lenses.                                                          and exchanges. Certain items may not be eligible for return, even with a receipt.               checking out.

   Get $ 10 in Cash Rewards* for every          Health Screenings
                                                                                                                       • You are required to return the product with all parts including accessories, original
                                                                                                                         packaging, and all product/order contents. This includes any gifts or gift cards provided
                                                                                                                                                                                                                       • Report a lost or stolen card immediately at any Sam’s Club Member Services Desk or
                                                                                                                                                                                                                         by calling 1.888.746.7726.
                                                                                                                         with your purchase as part of a promotion. Sam’s Club reserves the right to deny the
   $
    500 spent in-club and online                Receive convenient, preventative health care tests including             refund in full or provide a partial refund if only part of the purchase is returned.          Payment
                                                blood glucose and cholesterol (Total, HDL, LDL, Triglycerides).        • Mobile phones, tablets, other carrier connectable devices, and similar electronic devices
                                                                                                                                                                                                                       • We accept checks, cash, Sam’s Club Credit, Walmart® Credit, Mastercard®, American
                                                Ask your pharmacist for details on locations and pricing.4 Free          must be returned within fourteen (14) days of purchase with a receipt to the location where
                                                                                                                                                                                                                         Express®, Visa®, Discover®, EBT and ATM debit cards.
                                                                                                                         they were originally purchased.

   Free Shipping On most items. No minimum
                                                health screening events are also offered periodically, check with                                                                                                      • Personal Checks: Preprinted from member’s personal checking account with member’s
                                                                                                                       • All other electronic devices such as televisions, computers, printers, e-readers, GPS
                                                your pharmacy for details.5                                              devices, projectors, media players, cameras, camcorders, video game hardware/devices,           name, address and phone number written in the exact amount of the purchase. Photo ID
                                                                                                                                                                                                                         may be required (e.g., driver’s license).
   purchase. Exclusions apply. See details at   Delivery and Installation
                                                                                                                         storage/memory drives or cards, circuit cartridges, and unopened computer/video game
                                                                                                                         software, electronic games, pre-recorded movies, and music must be returned within            • Business Checks: Preprinted from company’s business checking account with company

   SamsClub.com/freeshipping
                                                                                                                         ninety (90) days of purchase with a receipt. Defective opened computer/video game               name, address and phone number written in the exact amount of the purchase and
                                                Enjoy low prices on the delivery of electronics, mattresses,             software, electronic games, pre-recorded movies, and music are eligible for exchange for        signed by an authorized company representative. Photo ID may be required. The
                                                                                                                         an identical product only within ninety (90) days of purchase with a receipt.                   company guarantees payment on all purchases made with a company business check.
                                                flooring and carpet. Electronics installation and setup also
                                                                                                                       • Special restrictions apply for items purchased under certain government programs such         • All company card purchases must be made with authorized company (business) checks
                                                available.                                                               as WIC and SNAP. Refer to full Satisfaction Guarantee Terms and Conditions for details.         or company credit card.

   Save time with early shopping hours**        Tire and Battery Center†
                                                                                                                       • Satisfaction Guarantee does not change the manufacturer’s warranty on any item
                                                                                                                         returned as defective, and does not change the requirements, limitations or restrictions
                                                                                                                                                                                                                       • Primary member is not responsible for personal checks written by add-on cardholders.


                                                Get free flat repair,3 battery testing, air pressure check and wiper
                                                                                                                         of any Protection Plan. See applicable manufacturer’s warranty or Protection Plan
                                                                                                                         information for details.
                                                                                                                                                                                                                       Use of Resale Permit or Transaction of
                                                blade installation. Receive free rotations with any in-club tire                                                                                                       Privilege Tax License (“Tax-Exempt”)
   Save on Pharmacy† prescriptions              purchase and complimentary emergency tire changing with the            Renew Membership                                                                                • A tax-exempt organization may purchase tax-free. All items purchased must be used
                                                                                                                                                                                                                         exclusively by the tax-exempt organization for tax-exempt purposes only.
                                                Premium Tire Installation Package.                                     • The primary member or complimentary cardholder may authorize renewal or cardholder
                                                                                                                         changes (including add-ons for Sam’s Club Plus™ members for business), unless the             • To obtain tax-exempt purchasing privileges, members must present a valid State

                                                Sam’s Club® Fuel Station†                                                membership is paid by automatic billing to a credit card, deducted from a bank account          Tax-Exempt number or Sales and Use Tax License (or photo copy) with a membership
                                                                                                                         or Payroll Deduct from earnings, in which case only a primary member can make such              application and renew it once every three years at Sam’s Club.
                                                                                                                         changes. Sam’s Club reserves the right to not allow complimentary cardholders to make
                                                Save every time you fill up at one of nearly 600 Fuel Stations           any changes to a membership at its sole discretion at any time.
                                                                                                                                                                                                                       • If the member buys any property for resale and uses that property for anything other than
                                                                                                                                                                                                                         retention, demonstration or display while holding it for sale, the law requires the member
                                                across the U.S.                                                        • Members receive a renewal notice by mail (unless you are set up on the Auto Renew               to report and pay tax, measured by the purchase price or other authorized amount.
                                                                                                                         program or on the Auto Bill program with Sam’s Club Credit).                                  • Member will hold Sam’s Club harmless from and will indemnify Sam’s Club against any
                                                Sam’s Club Photo       †
                                                                                                                       • Members may renew on SamsClub.com, by mail or at the club.                                      claim, loss or expense occurring from any failure to comply with Resale Permits or Tax-
                                                                                                                                                                                                                         Exempt requirements, and membership will be subject to immediate forfeiture.
                                                Upload photos online from your phone, computer, or social              • Members with Sam’s Club Credit will be automatically billed for renewal unless otherwise
                                                                                                                         specified. You will not receive a new card each year.
                                                media accounts. Create custom wall décor, stationery cards,            • Renewal within 60 days of your expiration date extends membership for 12 months from
                                                                                                                                                                                                                       General Policies
                                                photo books, prints and have them shipped to you or your                 the expiration date. Renewal after that point is at the sole discretion of Sam’s Club and     • Children and guests: Our members are welcome to bring their children and up to two
                                                local club.                                                              extends membership for 12 months from the renewal.                                              guests to Sam’s Club. A member must accompany children and guests at all times.
                                                                                                                                                                                                                         Only a member may purchase items. Children may not be left unsupervised. Parents
                                                                                                                       Membership                                                                                        are responsible for their children. Members are responsible for any items opened or
                                                                                                                                                                                                                         damaged by their guests, children or themselves.
                                                                                                                       • All memberships are subject to Sam’s Club rules that are amended from time to time and
                                                                                                                                                                                                                       • Dress code: Shoes and shirts are required.
                                                                                                                         may change without notice.
                                                                                                                                                                                                                       • Smoking: Not allowed in the club.


       Join or renew today.
                                                                                                                       • Sam’s Club reserves the right to accept, refuse or revoke membership without cause.

                                                  Explore even more benefits                                                                                                                                           • Tobacco and liquor: No sales to minors.
                                                                                                                                                                                                                       • Receipts: To ensure that you are charged correctly for the merchandise you have


                                                  and services available to
                                                                                                                                                                                                                         selected, you will be requested to show your receipt when exiting.
       Visit SamsClub.com/membership                                                                                                                                                                                     Sam’s Club reserves the right to inspect any container, backpack, briefcase, etc., upon
       or stop by the Member Services Desk
                                                  Sam’s Club members at
                                                                                                                                                                                                                         entering or leaving the club and to refuse entry to anything at our discretion.

                                                                                                                                                                                                                         Visit SamsClub.com/privacy to view our privacy policy.
       at your local club.
                                                  SamsClub.com/services


A_68711.indd 2                                                                                                                                                                                                                                                                                       2/13/18 8:54 AM
